 Case 2:24-mc-00028-UA Document 5 Filed 02/28/24 Page 1 of 1 Page ID #:39



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                                       PREVIOUS CASE NUMBER: 2:24−mc−00028−UA
CONSUMER WATCHDOG
                                                       CURRENT CASE NUMBER: 2:24−cv−01650 SB
                                       PLAINTIFF(S)

       v.
                                    DEFENDANT(S).
                                                       X NOTICE OF NEW CASE NUMBER

                                                       X NOTICE OF JUDGE ASSIGNMENT



X This case is hereby converted from case type MC to case type CV . This action is necessary because:

          the incorrect case type was used at case opening.
        X subsequent filings have changed the nature of the case.

A new case number has therefore been assigned to this case. The previous number, 2:24−mc−00028−UA is
hereby terminated.


X This case has been assigned to:    X    District Judge Stanley Blumenfeld, Jr
                                          Magistrate Judge

District judges in the Central District of California refer all discovery-related motions to the assigned
magistrate judge pursuant to General Order No. 05-07. Discovery-related motions should be noticed for
hearing before the assigned magistrate judge. Please refer to the assigned judges’ Procedures and Schedules,
available on the Court’s website at www.cacd.uscourts.gov/judges−requirements, for additional information.

If this Notice indicates that any judge has been newly assigned to the case, any party who has previously
filed documents electronically in the case but not yet provided mandatory chambers copies of those
documents pursuant to L.R. 5-4.5 must immediately provide such copies to the newly assigned judge(s). In
addition, the party who filed the case-initiating document in this case must serve a copy of this Notice on
every party served with the case-initiating document who has not yet appeared in the case.


                          As a result of the change(s) listed above,
               the case number on all future documents must read as follows:
                                           2:24−cv−01650 SB
             All future documents must be filed under this case number,
      and must reflect the full case number as formatted here, including all initials.


                                                      Clerk, U.S. District Court

 February 28, 2024                                    By /s/ Shaunte M Hunter
     Date                                               Deputy Clerk



CV−15 (10/20)         NOTICE OF NEW CASE NUMBER / JUDGE ASSIGNMENT
